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 1                                                                       CLERK, U.S. DISTRICT COURT

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                                                                         ?gIT~L DISTRICT OF CALIFORNIA
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8                               UNITED STATES DISTRICT COURT

9                              CENTRAL DISTRICT OF CALIFORNIA
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11   ~ UNITED STATES OF AMERICA,                      Case No. 8:2o-CR-ooioi-FMO
12                        Plaintiff,
i3                        v.                          ORDER OF DETENTION AFTER
                                                      HEARING
i4   RICARDO MEJIA MARTINEZ
                                                   [Fed. R. Crim. P. 32.i(a)(6); i8 U.S.C.
i5                        Defendant.               § 3143~a)~
i6

i~          The defendant having been arrested in this District pursuant to a warrant issued

i8   by the United States District Court for the Central District of California for alleged

i9   violations of the terms and conditions of his/her supervised release; and

20          The Court having conducted a detention hearing pursuant to Federal Rule of

21   Criminal Procedure 32.i(a)(6) and ~8 U.S.C. § 3i43(a), hereby finds the following:

22          A. (x) The defendant has not met his/her burden of establishing by clear and

23             convincing evidence that he/she is not likely to flee if released under i8 U.S.C.

24             § 3i42(b)or (c).

25          B. (x) The defendant has not met his/her burden of establishing by clear and

26             convincing evidence that he/she is not likely to pose a danger to the safety of

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               any other person or the community if released under i8 U.S.C. § 3i42(b)or

2             (c).

3          These findings are based on: nature ofcurrent allegations which reflects

4    unwillingness to comply with the terms ofhis supervised release; lack of bail

5    resources; ties to aforeign country; history ofusing alias; and pretrial services

6    recommendation to detain.

 7         IT THEREFORE IS ORDERED that the defendant be detained pending the final

8    revocation proceedings.

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io   Dated:    ~~ 2                                                         -~
                                                    HO ORABL             MN D. SPAETH
~~                                                  United States   agistrate Judge
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